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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10
  11   Robyn Rihanna Fenty, et al.,      )      CASE NO. CV 19-307-MWF(SKx)
                                         )
  12                     Plaintiff(s),   )      ORDER SETTING SCHEDULING
                                         )      CONFERENCE
  13         v.                          )
                                         )      Date:      June 10, 2019
  14   Fenty Entertainment, LLC, et al., )      Time:      11:00 a.m.
                                         )      Courtroom: 5A
  15                     Defendant(s).   )
       ______________________________ )
  16
  17               READ THIS ORDER CAREFULLY. IT DIFFERS IN
  18                 SOME RESPECTS FROM THE LOCAL RULES.
  19         This case has been assigned to Judge Michael W. Fitzgerald. This matter is
  20   set for a scheduling conference on the above date. If plaintiff has not already
  21   served the operative complaint on all defendants, plaintiff promptly shall do so
  22   and shall file proofs of service within three days thereafter. Defendants also
  23   timely shall serve and file their responsive pleadings and file proofs of service
  24   within three days thereafter. At the scheduling conference, the Court will set a
  25   date by which motions to amend the pleadings or add parties must be heard.
  26         The conference will be held pursuant to Rule 16(b) of the Federal Rules of
  27   Civil Procedure. The parties are reminded of their obligations under Rule
  28   26(a)(1) to disclose information (without awaiting a discovery request), and under

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   1   Rule 26(f) to confer on a discovery plan not later than 21 days before the
   2   scheduling conference and to e-file a “Joint Rule 26(f) Report” with the Court not
   3   later than 14 days before the conference. Mandatory paper chambers copies of
   4   the Joint Rule 26(f) Report must be delivered to Judge Fitzgerald’s drop box
   5   located outside of the Deputy Clerk's office, on the fourth floor of the courthouse,
   6   350 West 1st Street, by 12:00 p.m. (noon) on the first court day after the e-filing.
   7         The Court encourages counsel to agree to begin to conduct discovery
   8   actively before the Scheduling Conference. At the very least, the parties shall
   9   comply fully with the letter and spirit of Rule 26(a) and thereby obtain and
  10   produce most of what would be produced in the early stage of discovery, because
  11   at the Scheduling Conference the Court will impose strict deadlines to complete
  12   discovery.
  13         This Court does not exempt parties appearing in propria persona from
  14   compliance with any of the Local Rules, including Local Rule 16. “Counsel,”
  15   as used in this order, includes parties appearing in propria persona.
  16         1.     Joint Rule 26(f) Report
  17         The Joint Rule 26(f) Report, which shall be filed not later than 14 days
  18   before the scheduling conference, shall be drafted by plaintiff (unless the parties
  19   agree otherwise), but shall be submitted and signed jointly. “Jointly”
  20   contemplates a single report, regardless of how many separately-represented
  21   parties there are. The Joint Rule 26(f) Report shall specify the date of the
  22   scheduling conference on the caption page. It shall report on all matters described
  23   below, which include those required to be discussed by Rule 26(f) and Local Rule
  24   26:
  25         a.     Statement of the Case: A short synopsis (not to exceed two pages)
  26                of the main claims, counterclaims and affirmative defenses.
  27         b.     Subject Matter Jurisdiction: A statement of the specific basis of
  28                federal jurisdiction, including supplemental jurisdiction.

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   1         c.    Legal Issues: A brief description of the key legal issues, including
   2               any unusual substantive, procedural or evidentiary issues.
   3         d.    Parties, Evidence, etc.: A list of parties, percipient witnesses and key
   4               documents on the main issues in the case. For conflict purposes,
   5               corporate parties must identify all subsidiaries, parents and affiliates.
   6         e.    Damages: The realistic range of provable damages.
   7         f.    Insurance: Whether there is insurance coverage, the extent of
   8               coverage and whether there is a reservation of rights.
   9         g.    Motions: A statement of the likelihood of motions seeking to add
  10               other parties or claims, file amended pleadings, transfer venue, etc.
  11         h.    Manual for Complex Litigation: Whether all or part of the
  12               procedures of the Manual for Complex Litigation should be utilized.
  13         i.    Status of Discovery: A discussion of the present state of discovery,
  14               including a summary of completed discovery.
  15         j.    Discovery Plan: A detailed discovery plan, as contemplated by Rule
  16               26(f). State what, if any, changes in the disclosures under Rule 26(a)
  17               should be made, the subjects on which discovery may be needed and
  18               whether discovery should be conducted in phases or otherwise be
  19               limited, whether applicable limitations should be changed or other
  20               limitations imposed, and whether the Court should enter other
  21               orders. A statement that discovery will be conducted as to all claims
  22               and defenses, or other vague description, is not acceptable.
  23         k.    Discovery Cut-off: A proposed discovery cut-off date. N.B. This
  24               means the final day for completion of discovery, including
  25               resolution of all discovery motions.
  26         l.    Expert Discovery: Proposed dates for expert witness disclosures
  27               (initial and rebuttal) and expert discovery cut-off under Rule
  28               26(a)(2).

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   1         m.    Dispositive Motions: A description of the issues or claims that any
   2               party believes may be determined by motion for summary judgment
   3               or motion in limine.
   4         n.    Settlement/Alternative Dispute Resolution (ADR): A statement of
   5               what settlement discussions or written communications have
   6               occurred (excluding any statement of the terms discussed). If
   7               counsel have received a Notice to Parties of Court-Directed ADR
   8               Program (Form ADR-08), the case presumptively will be referred to
   9               the Court Mediation Panel or private mediation (at the parties'
  10               expense). If the parties jointly desire a settlement conference with
  11               the assigned magistrate judge, they should so indicate in their report
  12               and the matter will be discussed at the scheduling conference. No
  13               case will proceed to trial unless all parties, including an officer (with
  14               full authority to settle the case) of all corporate parties, have
  15               appeared personally at an ADR proceeding.
  16         o.    Trial Estimate: A realistic estimate of the time required for trial and
  17               whether trial will be by jury or by court. Each side should specify
  18               (by number, not by name) how many witnesses it contemplates
  19               calling. If the time estimate for trial given in the Joint Rule 26(f)
  20               Report exceeds four court days, counsel shall be prepared to discuss
  21               in detail the estimate.
  22         p.    Trial Counsel: The name(s) of the attorney(s) who will try the case.
  23         q.    Independent Expert or Master: Whether this is a case where the
  24               Court should consider appointing a master pursuant to Rule 53 or an
  25               independent scientific expert. (The appointment of a master may be
  26               especially appropriate if there are likely to be substantial discovery
  27               disputes, numerous claims to be construed in connection with a
  28               summary judgment motion, a lengthy Daubert hearing, a resolution

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   1               of a difficult computation of damages, etc.).
   2         r.    Timetable: Complete the Schedule of Pretrial and Trial Dates
   3               form attached as Exhibit A to this Order and attach it to the
   4               Joint Rule 26(f) Report. The entries in the “Weeks Before Trial”
   5               column reflect what the Court believes are appropriate for most cases
   6               and will allow the Court to rule on potentially dispositive motions
   7               sufficiently in advance of the pretrial conference. The form is
   8               designed to enable counsel to ask the Court to set different (earlier)
   9               last dates by which the key requirements must be completed. Each
  10               side should write in the month, day, and year it requests for each
  11               event. E.g., for the expert discovery cut-off it might be “10/15/12”
  12               for plaintiff and “10/29/12” for defendant, if they cannot agree. At
  13               the conference, the Court will review this form with counsel. Each
  14               entry proposing Court dates shall fall on a Monday, except the trial
  15               date, which is a Tuesday. Counsel should insure that requested dates
  16               do not fall on a holiday. In appropriate cases the Court will order
  17               different dates after it hears from counsel. The discovery cut-off
  18               date is the last day by which all depositions must be completed,
  19               responses to previously-served written discovery must be provided,
  20               and motions concerning discovery disputes must be heard. The cut-
  21               off date for motions is the last date on which motions may be heard,
  22               not filed. The Court is not likely to continue this date and will not
  23               do so unless the trial date also is continued.
  24         s.    Other issues: A statement of any other issues affecting the status or
  25               management of the case (e.g., unusually complicated technical or
  26               technological issues, disputes over protective orders, extraordinarily
  27               voluminous document production, non-English speaking witnesses,
  28               ADA-related issues, discovery in foreign jurisdictions, etc.) and any

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   1                proposals concerning severance, bifurcation, or other ordering of
   2                proof.
   3         The Joint Rule 26(f) Report should set forth the above-described
   4   information under section headings corresponding to those in this Order.
   5         2.     Scheduling Conference
   6         Scheduling conferences will be held in Courtroom 5A, 350 West 1st Street.
   7   Counsel shall comply with the following:
   8         a.     Participation: Although the Court would prefer lead trial attorney's
   9                attendance at the scheduling conference, it is not required. However,
  10                if lead trial counsel does not attend, any attorney appearing on his or
  11                her behalf must be prepared to discuss the case and authorized to
  12                address scheduling with the Court and opposing counsel.
  13         b.     Continuance: A continuance of the scheduling conference will be
  14                granted only for good cause.
  15         3.     Notice to be Provided by Counsel
  16         Plaintiff’s counsel or, if plaintiff is appearing pro se, defendant’s counsel,
  17   shall provide this Order to any parties who first appear after the date of this Order
  18   and to parties who are known to exist but have not yet entered appearances.
  19         4.     Disclosures to Clients
  20         Counsel are ordered to deliver to their respective clients a copy of this
  21   Order and of the Court’s trial order, which will contain the schedule that the
  22   Court sets at the scheduling conference.
  23   ///
  24   ///
  25         5.     Court’s Website
  26         Copies of this and all other orders of this Court that may become applicable
  27   to this case are available on the Central District of California website, at
  28   www.cacd.uscourts.gov, under “Judge’s Procedures and Schedules.” Copies of

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   1   the Local Rules are available on the website.1
   2
   3           The Court thanks the parties and their counsel for their anticipated
   4   cooperation in complying with these requirements.
   5
   6           IT IS SO ORDERED.
   7
   8   Dated: April 17, 2019              __________________________________
                                               MICHAEL W. FITZGERALD
   9                                           United States District Judge
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           They may also be purchased from one of the following:
  26
       Los Angeles Daily Journal       West Publishing Company     Metropolitan News
  27   915 East First Street           50 West Kellogg Blvd.       210 South Spring Street
  28   Los Angeles, CA 90012           St. Paul, MN 55164-9979     Los Angeles, CA 90012


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                                        JUDGE MICHAEL W. FITZGERALD
                               SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET

 Case No.

 Case Name

                                  Matter                                        Plaintiff(s)’ Date       Defendant(s)’ Date          Court Order
                                                                                mo / day / year           mo / day / year

 [ ] Jury Trial or [ ] Court Trial
 (Tuesday at 8:30 a.m.)
                            Duration Estimate: ________ Days

 Final Pretrial Conference [LR 16] and Hearing on Motions In Limine
 (Monday at 11:00 a.m. -- three (3) weeks before trial date)

 Motions In Limine must be filed three (3) weeks before this date;
 oppositions are due two (2) weeks before this date; no reply briefs.

                          Event                              Weeks              Plaintiff(s)’ Date       Defendant(s)’ Date          Court Order
                                                           Before Trial         mo / day / year           mo / day / year

 Last Date to Hear Motion to Amend Pleadings /
 Add Parties

 Non-Expert Discovery Cut-Off (at least 4 weeks                 18
 before last date to hear motions)

 Expert Disclosure (Initial)

 Expert Disclosure (Rebuttal)

 Expert Discovery Cut-Off                                      14 *

 Last Date to Hear Motions (Monday at 10:00 a.m.)               14

 Last Date to Conduct Settlement Conference                     12

 For Jury Trial
 ‚ File Memorandum of Contentions of Fact and                   6
    Law, LR 16-4
 ‚ File Exhibit and Witness Lists, LR 16-5.6
 ‚ File Status Report Regarding Settlement
 ‚ File Motions In Limine

 For Jury Trial
 ‚ Lodge Pretrial Conference Order, LR 16-7                     5
 ‚ File Agreed Set of Jury Instructions and Verdict
    Forms
 ‚ File Statement Regarding Disputed Instructions,
    Verdicts, etc.
 ‚ File Oppositions to Motions In LImine

 For Court Trial                                                3
 ‚ Lodge Findings of Fact and Conclusions of Law,
    LR 52, and Summaries of Direct Testimony
* The parties may choose to cut off expert discovery prior to MSJ briefing.

                                                                ADR [LR 16-15] Selection:

                   G Attorney Settlement Officer Panel         G      Private Mediation       G Magistrate Judge (with Court approval)
                                                                        EXHIBIT A
